






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00472-CR






James Quisenberry, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 922635, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's second motion for extension of time to file brief is granted.  Appellant's
counsel, Mr. John S. Butler, is ordered to tender a brief in this cause no later than December 8, 2003. 
No further extension of time will be granted.

It is ordered November 6, 2003.


Before Chief Justice Law, Justices Kidd and Puryear

Do Not Publish


